          Case 1:18-cr-00218-TSC Document 83 Filed 02/08/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :       Criminal Case: 18-218 (TSC)
           v.                                 :
                                              :
                                              :
MARIIA BUTINA, also known as                  :
MARIA BUTINA,                                 :
                                              :
                       Defendant.             :

                          Joint Motion to Continue Status Conference

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Mariia Butina, also known as Maria Butina, through her

counsel, Robert Driscoll and Alfred Carry, Esqs., respectfully request that the Court continue the

status conference in this matter, presently set for February 12, 2019, to February 26, 2019, at 2:30

p.m.

       In support of this motion, the parties represent that on or about December 13, 2018, the

defendant entered a guilty plea to Count 1 of the indictment in this case. As part of her plea

agreement, the defendant agreed to cooperate with the United States. The parties agreed on a status

date of February 12, 2019, to determine whether a sentencing date should be set. The defendant’s

cooperation is not yet complete, and the parties are not prepared to advise the Court about potential

sentencing dates. The parties thus request a continuance of this matter until February 26, 2019, at

2:30 p.m., if that date and time are convenient for the Court.




                                                  1
    Case 1:18-cr-00218-TSC Document 83 Filed 02/08/19 Page 2 of 2



                                             Respectfully submitted,

/s/ Robert N. Driscoll________               JESSIE K. LIU
Robert N. Driscoll (DC Bar No. 486451)       UNITED STATES ATTORNEY
                                             D.C. Bar Number 472845
/s/ Alfred D. Carry___________
Alfred D. Carry (DC Bar No. 1011877)         By:___________/s/____________
                                             ERIK M. KENERSON
McGlinchey Stafford PLLC                     THOMAS N. SAUNDERS
1275 Pennsylvania Avenue NW, Suite 420       Assistant United States Attorneys
Washington, DC 20004                         Ohio Bar Number 82960 (Kenerson)
Phone: (202) 802-9999                        N.Y. Bar Number 4876975 (Saunders)
Fax: (202) 403-3870
                                             555 Fourth Street, N.W.
rdriscoll@mcglinchey.com
                                             Washington, D.C. 20530
acarry@mcglinchey.com
Counsel for Defendant
                                             Telephone: 202-252-7201
                                             Email: Erik.Kenerson@usdoj.gov

                                                       /s/_______________
                                             WILLIAM A. MACKIE
                                             Trial Attorney, National Security Division
                                             N.C. Bar Number 13816
                                             950 Pennsylvania Avenue, N.W.
                                             Washington, D.C. 20530
                                             Telephone: 202-233-2122
                                             Email: Will.Mackie@usdoj.gov




                                         2
